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                                               THE CITY OF NEW YORK
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                                                                         January 8, 2021
      VIA ECF                                                                    The close of discovery will be extended until March
      Honorable Vernon S. Broderick                                              31, 2021. The conference scheduled for January 21,
      United States District Judge                                               2021, is adjourned to April 2, 2021, at 11:00 am.
      Thurgood Marshall United States Courthouse                                 The case will be referred to Magistrate Judge
      40 Foley Square                                                            Netburn for resolution of the discovery dispute. The
      New York, NY 10007                                                         Clerk of Court is respectfully directed to mail a copy
                                                                                 of this order to Pro Se Plaintiff.
                      Re:      Jason Winters v. Warden K. Smalls, et al.,
                               19-CV-7272 (VSB) (SN)

      Your Honor,                                                                                                        1/11/2021

                     I am a Senior Counsel in the Special Federal Litigation Division of the New York
      City Law Department, and the attorney for defendants in the above-referenced action.
      Defendants write to respectfully request that Your Honor order plaintiff to provide responses to
      Defendants’ First Set of Interrogatories and Requests for Production of Documents by January
      29, 2021. Additionally, defendants respectfully request an extension of the close of discovery,
      from January 15, 2021 up to and including to March 31, 2021. 1 This is defendant’s first request
      for an extension of the discovery deadline. Because plaintiff is presently incarcerated, he could
      not be reached expeditiously to obtain his consent to this request.

                     By way of background, plaintiff filed an Amended Complaint on October 28,
      2019, alleging that, on March 9, 2019, he was attacked by another inmate. (Am. Compl. p. 4.
      (ECF No. 7.)) Plaintiff further alleges that defendants were deliberately indifferent in protecting
      him from the inmate and conspired to cover up the incident. (Id. at 4-6.) Plaintiff alleges that he
      sustained physical injuries as a result of the alleged underlying incident. On September 1, 2020,
      defendants served discovery requests and interrogatories on plaintiff. In October, plaintiff
      informed defendants that he did not receive the requests because he moved facilities. On October
      20, 2020, defendants, again, served the discovery requests and interrogatories on plaintiff.
      Thereafter, the parties had a phone call during which defendants explained that they were
      entitled to responses to the discovery demands and plaintiff indicated that he would provide
      responses, including executed releases permitting defendants to obtain certain documents,
      including plaintiff’s medical records. To date, however, defendants still have not received any
      responses.

      1
       Should the Court grant defendants’ request, defendants also respectfully request an adjournment of the status
      conference scheduled for January 21, 2021.
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               Plaintiff’s responses to Defendants’ First Set of Interrogatories and Requests for
Production of Documents are relevant and necessary to the defense of this litigation. In
plaintiff’s complaint, he alleges that he sustained physical injuries as a result of the underlying
incident. (ECF No. 7.) As such, at a minimum, defendants are entitled to access to plaintiff’s
relevant medical records. Further, to the extent plaintiff identifies other damages, including
psychotherapy damages, they would also be probative to the defense of this action and the
overall valuation of damages. 2 Accordingly, plaintiff should be ordered to provide responses to
Defendants’ First Set of Interrogatories and Requests for Production of Documents by January
29, 2021.

               Finally, as the Court is aware, discovery in this matter is set to close on January
15, 2021—which is a week away. Because, as set forth above, plaintiff has not provided
discovery responses, this matter has essentially been at a standstill. Defendants further note that
even after receiving the requested discovery responses and releases, defendants must await
production of the records, such as plaintiff’s medical records, before plaintiff can be deposed. As
such, an enlargement of the discovery deadline is necessary to obtain plaintiff’s discovery
responses, relevant documents, and to conduct plaintiff’s deposition.

               Based on the foregoing, defendants respectfully request that Your Honor order
plaintiff to provide responses to Defendants’ First Set of Interrogatories and Requests for
Production of Documents by January 29, 2021. Additionally, defendants respectfully request an
extension of the discovery deadline, from January 15, 2021 up to and including March 31, 2021.
Thank you for your consideration of this matter.

                                                                       Respectfully submitted,

                                                                                Qiana Smith-Williams
                                                                       Qiana Smith-Williams 3
                                                                       Senior Counsel


cc:     VIA FIRST-CLASS MAIL
        Jason Winters
        Anna M. Kross Center
        18-18 Hazen Street
        East Elmhurst, NY 11370




2
  Defendants in no way suggest that this is the only relevant outstanding discovery since defendants’ discovery
demands request various information including, but not limited to, the identification of any purported witnesses and
information pertaining to plaintiff’s criminal history, which may implicate plaintiff’s credibility.
3
  This case has been assigned to Assistant Corporation Counsel Aaron Davison, who passed the New York State Bar
Exam and is presently applying for admission. Mr. Davison is handling this matter under supervision and may be
reached at (646) 988-3220 or adavison@law.nyc.gov.
